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BY ECF

January 31, 2022

Hon. Robert B. Kugler, U.S.D.J.
Mitchell H. Cohen Bldg. & U.S. Courthouse
One John F. Gerry Plaza (4th & Cooper Streets)
Camden, New Jersey 08101

               Re:     Jones v. Zuckerberg, Case No. 1:21-cv-20163-RBK-AMD (D.N.J.)

Dear Judge Kugler:

          My Firm represents Defendant Mark Zuckerberg in the above-named case and I write in
further support of Mr. Zuckerberg’s motion to dismiss Plaintiff’s claims under Fed. R. Civ. P. 12(b)(6).

        Plaintiff is the victim of a lottery scam in which a fraudster using the name “Kevin Edwards”
told Plaintiff that Facebook CEO Mark Zuckerberg had selected her from among all Facebook users
for a $100,000 awarded by “Mr. Edwards’s” organization. “Mr. Edwards” extracted $200 from
Plaintiff as a “financial requirement” to claim her supposed winnings, then issued a check that
Plaintiff’s bank rejected as fake. As discussed in the Initial Brief, this Court should dismiss Plaintiff’s
claim against Mr. Zuckerberg for the purported $100,000 prize with prejudice because Plaintiff does
not and cannot plausibly allege that (a) Mr. Zuckerberg actually was involved in this alleged lottery; or
that (b) “Mr. Edwards” had authority to contract on Mr. Zuckerberg’s behalf. (ECF No. 5-1, at 6-10.)

        Plaintiff’s opposition brief (ECF No. 7) does not address either of these arguments. Plaintiff
claims no direct interactions with Mr. Zuckerberg and fails to allege any additional facts plausibly
suggesting Mr. Zuckerberg’s involvement with the purported lottery or “Mr. Edwards’s” authority to
enter contracts on Mr. Zuckerberg’s behalf.

       As set forth in this letter and his Initial Brief, Mr. Zuckerberg respectfully requests that this
Court dismiss him from this case with prejudice.

                                         Respectfully submitted,

                                             s/ Mark S. Pincus




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